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        conversation specifically about that, but yes.

        Q     And part of the reason that you talked about it was

        because it was in the news, right?

        A     Yes, yes.    I talked about the Cardinal.       Each year, the

        Cardinal is remembered.

        Q     And you know, though, that each year that the cardinal is

        remembered, Compadre Chapo is also remembered by the news and

        the media in Mexico, right?

        A     Yes -- yes, sir, that's what I said.

        Q     And the reason he's remembered by the media in all of

        Mexico is because they tie him to the murder of Cardinal

        Ocampo, correct?

        A     That's what the news says.

        Q     But you know that Compadre Chapo didn't kill him, right?

        A     That's what I said yesterday, that he didn't kill him.

        Q     The Arrellano Felix's killed Cardinal Ocampo.

        A     Yes, sir.

        Q     And you know, once again, from living in Mexico at the

        time, from being in the business at that time that prior to

        the murder of the Cardinal Ocampo, the Mexican public in large

        had no idea who Compadre Chapo was, correct?

        A     Yes, sir.

        Q     It was only when the news blew up, Chapo hit the

        spotlight, right?

        A     Yes, sir.


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                                   Official Court Reporter
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        Q     And when after he had been arrested in Guatemala and

        taken back to Mexico and was at the prison -- do remember

        talking about that?

        A     Yes, sir.

        Q     And Compadre Chapo got out of that prison in a laundry

        cart, right?

        A     Yes, sir.

        Q     Compadre Chapo blew up even bigger, right?

        A     Yes, sir, that's correct.

        Q     Unlike your father who was in the shadows, Compadre Chapo

        was all over the news.

        A     Yes, sir.

        Q     Now, during those various meetings that you had with the

        Government -- well, strike that.

                     You believed at some point that there was a,

        quote/unquote, campaign to inflate Compadre Chapo's persona in

        order to get him arrested, correct?

        A     Yes.   We talked about it, my dad and Compadre Chapo, all

        together.

        Q     And that campaign was by whom?

        A     The Government.

        Q     What Government?

        A     Well, Mexico and the United States, too.

        Q     So according to you, the Government of Mexico and the

        Government of the United States made Compadre Chapo bigger


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        than he was, made him this persona that was a myth in order to

        bring him down, right?

        A     Well, sir, because of the escape, I mean, yeah, there was

        more that was said about that, about him.            And, like I said,

        we did talk about it, and there was a campaign against him.

        Q     Because then the Government of Mexico and the

        United States can say, hey, we took down Chapo Guzman, right?

        A     Well, it was my Compadre Chapo, and just like that, they

        also wanted to get to my father.

        Q     Right.

                     But who is sitting here today?

        A     My Compadre Chapo.

        Q     Your father, Papa Mayo, still in Sinaloa, right?

        A     I imagine so, in Sinaloa.

        Q     Leading the cartel in Sinaloa, correct?

        A     Yes, sir.

        Q     Now, you and your Papa Mayo are not the only drug

        traffickers in your family, correct?

        A     Well, yes.    Me, my dad, and my Uncle Rey, who has also

        been arrested.

        Q     Rey Zambade is also a drug trafficker, pled guilty, and

        testified against Compadre Chapo in this case, right?

        A     Yes.

        Q     And during the entire time that you have been locked up

        in the United States, you have had contact with your family.


                                Denise Parisi, RPR, CRR
                                   Official Court Reporter
